    Case 23-20168        Doc 129        Filed 10/31/23 Entered 10/31/23 15:23:34                     Desc Main
                                         Document     Page 1 of 2



                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MAINE


    In re:
                                                                Chapter 11
    ANDREA T. McBRIDE,                                          Case No. 23-20168

             Debtor.


    ORDER ON APPLICATION FOR INTERIM AWARD OF PROFESSIONAL FEES AND
              REIMBURSEMENT OF EXPENSES TO MARCUS|CLEGG

       Marcus ‫ ׀‬Clegg filed an Application for Interim Award of Professional Fees and
Reimbursement of Expenses to Marcus ‫ ׀‬Clegg on October 2, 2023 [Dkt. No. 93] (the
“Application”) seeking an award of $44,097.91 comprised of $42,487.00 in fees and $1,610.91 in
expenses, for the period August 9, 2023 through September 30, 2023. 1              0F




       Upon review of the Application, the Court notes that almost 84% of the 70.9 hours billed
by Marcus‫׀‬Clegg were charged at the rate of $650.00/hour, which is near the top of the range of
hourly rates presented to this Court for consideration by attorneys in routine chapter 11 cases.
Furthermore, just 0.8 hours of billed time was attributable to a paraprofessional whose time was
billed at $165 per hour. The remaining 10.8 hours were billed by attorneys who charge
$365.00/hour and $350.00/hour.

         The fee detail indicates that many tasks were billed at the $650 hourly rate, such as filing
motions (see entries on August 9, 2023, August 10, 2023, August 11, 2023, August 15, 2023, and
August 23, 2023), tracking down documentation requested by the United States Trustee’s office
and sending the same (see entry on August 22, 2023), and coordinating a site visit (see entry on
September 18, 2023). In addition, the Court notes one entry on August 10, 2023, for calendaring
critical dates, which was billed at the hourly rate of $350.00. Based upon the details in the
Application, the Court concludes that all of these tasks would be more appropriate for a
paraprofessional, at paraprofessional rates.

        Similarly, the time spent for drafting, revising and filing the Application, as well as an
application seeking an award of compensation for Amanda Garcia [Dkt. No. 98] (see entries on
September 20, 2023, September 21, 2023, September 28, 2023, and September 29, 2023) was
charged at the rate of $650 per hour. Generally, such time consuming, yet relatively
straightforward, applications should not be billed by the most experienced attorney working on the
case.

        In all, the Court identified approximately $3,620.00 in fees which should have been billed
at a lower rate. Time billed in connection with those services will be allowed in the amount of

1
 There were no objections to the Application, though the proposed order at Dkt. No. 115 indicates that
Marcus‫׀‬Clegg was willing to reduce its fee request by $3,500 after discussions with the United States Trustee.
 Case 23-20168        Doc 129     Filed 10/31/23 Entered 10/31/23 15:23:34             Desc Main
                                   Document     Page 2 of 2



$1,810.00, or half of the rate at which they were billed. The remaining $1,810.00 in fees are
disallowed.

       The $3,120.00 in fees billed in connection with the unsuccessful Motion for Entry of Order
Amending Order Dated August 10, 2023, Setting Plan Deadlines, Hearing Dates and Other
Relevant Dates With Respect To Debtor’s Plan of Reorganization Pursuant to Bankruptcy Rules
3017 and 3018 [Dkt. No. 64] are hereby disallowed. The time spent in connection with the motion
was not necessary for the administration, or beneficial to the completion, of this case.

       Finally, the Court will disallow $12.66 in expenses relating to Westlaw charges. The Court
consistently disallows expenses such as these arising from maintenance of products and tools
incidental to the operation of a firm. These ordinary and necessary costs constitute part of a firm’s
overhead and should not be allocated among clients.

       In light of the foregoing, the Court hereby awards Marcus‫׀‬Clegg compensation in the
amount of $37,557.00 and reimbursement of expenses in the amount of $1,598.25 for a total award
of $39,155.25. Marcus‫׀‬Clegg is authorized to apply the retainer held by it in partial satisfaction
of compensation set forth herein and the Debtor is authorized and directed to pay Marcus‫׀‬Clegg
any remaining balance owed for professional services rendered and expenses incurred during the
Application Period.

Dated: October 31, 2023                               /s/ Peter G. Cary
                                                      Judge Peter G. Cary
                                                      United States Bankruptcy Court
